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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

CHRISTOPHER D. MARKS,                               Case No. 3:17-cv-655-TBR

                   Plaintiff,

       v.

STERLING INFOSYSTEMS, INC. D/B/A
STERLING TALENT SOLUTIONS,

                   Defendant.



            DEFENDANT’S UNOPPOSED MOTION FOR AN EXTENSION OF
             TIME TO REPLY IN SUPPORT OF ITS MOTION TO DISMISS

       Defendant, Sterling Infosystems, Inc. (“Sterling”), by and through its attorneys,

respectfully moves this Court for an Order extending the time by 10 days, until and including

February 12, 2018 (the Monday following the expiration of the 10 days), for Sterling to file a

Reply in Support of its Motion to Dismiss. In support of its unopposed motion, Sterling states as

follows:

       1.      Sterling’s Reply is currently due February 1, 2018.

       2.      Sterling requires an additional 10 days, until and including February 12, 2018, to

prepare a Reply.

       3.      Sterling further states the parties are exploring the potential for early case

resolution, which may make the filing of a Reply unnecessary.

       4.      Counsel for Sterling has conferred with Counsel for Plaintiff regarding Sterling’s

request for an extension of time to Reply. Plaintiff’s Counsel indicated that Plaintiff does not

oppose this request for an extension.
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       5.      This motion is filed in good faith and not for the purpose of unwarranted delay.

There are no other deadlines or conferences that will be affected by this motion.

       WHEREFORE, Defendant, Sterling, respectfully requests that the Court issue an order

granting Sterling an additional ten (10) days, until February 12, 2018, to file a Reply in Support

of its Motion to Dismiss.

                                              Respectfully submitted,



                                              s/ P.J. Painter
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                                              Sterling Infosystems, Inc.




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                                 CERTIFICATE OF SERVICE

       I, Paul J. Painter, an attorney, certify that I caused a copy of the foregoing to be

electronically filed with the Court’s CM/ECF system, on January 26, 2018, which will send

notification to the following counsel of record:

                              Ben Carter
                              BEN CARTER LAW PLLC
                              900 S. Shelby Street
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                                              s/ P.J. Painter         ______   ___________
                                                         Paul J. Painter




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